UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                           01/12/2023

WAYNE BALIGA,
                                                      18 Civ. 11642 (VM)
                           Plaintiff,
                                                      ORDER
                    - against -

LINK MOTION INC., et al.,

                           Defendants.


VICTOR MARRERO, United States District Judge.

        On January 9, 2023, the court-appointed receiver in this

action, Robert W. Seiden (“Receiver”), informed the Court

that it had received correspondence from defendant, Link

Motion Inc.’s (“LKM” or the “Company”) registered agent in

the Cayman Islands, Maples and Calder Service Europe Limited

(“Maples”). (See Dkt. No. 382.) Maples provided the Receiver

with an invoice totaling $3,219.51, which would need to be

paid by January 31, 2023, for LKM to remain in good standing

under     Cayman    Islands’   law      (the    “Maples     Invoice”).       The

Receiver further indicated that it currently has no funds to

pay the invoice and sought the Court’s direction.

        The Receiver is currently carrying out its accounting

pursuant    to     the   Court’s   orders      and   will    not   be    fully

discharged until the accounting is complete and approved. The

Court     previously       adopted      Magistrate        Judge    Freeman’s

recommendation      that   “during      the    remaining    period      of   the



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receivership”      the     Receiver          “should     []    be    focused     on

maintaining the Company’s status quo.” (Dkt. No. 275 at 41;

see also Dkt. No. 331 (adopting in full the Report and

Recommendation at Dkt. No. 275).)

       The Court finds that the status quo is best kept by

ensuring that the Company’s good standing in the Cayman

Islands is maintained. It is thus necessary for the Receiver

to take appropriate steps to ensure that the Maples Invoice

is    timely    paid.    Accordingly,          the     Court   orders      LKM   to

immediately     transfer       funds    sufficient        to   pay   the    Maples

Invoice to the Receiver and directs the Receiver to timely

execute payment.

       The Company’s funding of the Receiver to pay the Maples

Invoice    is    required       under        the     Court’s   original      Order

Appointing Temporary Receiver. (Dkt. No. 26.) The Court has

previously determined, and reiterates now, that, except as

limited by the Court’s direction to focus on the accounting

and    maintaining       the    status        quo,     until   the    Receiver’s

accounting is finalized and approved by the Court, the Order

Appointing Temporary Receiver remains operative in this case.

(See, e.g., Dkt. Nos. 338, 364, 365 (all finding that the

Receiver’s authority remains intact until the accounting is

complete and approved).) Under Section II.5 of the Order

Appointing      Temporary      Receiver        “[t]he     Company      shall     be


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responsible   for   funding      the       Receivership     Account     and    is

directed to cooperate with the Receiver in establishing and

funding the Receivership Account.” (Dkt. No. 26.) Further,

Section   II.5   requires     the      Company        to   ensure    that     the

“Receivership    Account    []    maintains       a    minimum      balance    of

$100,000.00 and is to be replenished fully back to this

level[.]” (Id.) The Company thus must immediately transfer

sufficient funds to the Receivership Account to allow the

Receiver to timely pay the Maples Invoice.



SO ORDERED.

Dated:     12 January 2023
           New York, New York



                                                _________________________
                                                     Victor Marrero
                                                        U.S.D.J.




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